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Attorneys for Plaintiffs,
ELIZABETH LAVALLE,
and all others similarly situated

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

ELIZABETH LAVALLE, individually | Case No. SACV 08-01383 AHS (RNBx)
and on behalf of all others similarly
situated,

Plaintiff SUPPLEMENTAL DECLARATION OF JENNY
aintis, CUDWORTH RE: MOTION FOR FINAL APPROVAL
OF CLASS SETTLEMENT

VS.

CHEXSYSTEMS and DOES Ito 10,
inclusive,

Defendants. Judge: Hon. Alicemarie Stotler
Courtroom: 10-A
Complaint Date: December 4, 2008

 

 

 

1, Jenny Cudworth, declare:

1. lama Senior Consultant at Kurtzman Carson Consultants LLC ("KCC"), located at
75 Rowland Way, Suite 250, Novato, California. I am over 21 years of age and am not a party to
this action. I have personal knowledge of the facts set forth herein and, if called as a witness,
could and would testify competently thereto. This declaration supplements the declaration I
executed on September 2, 2011.

2. KCC was retained to, among other things, mail the Notice Packets, process Claim

 

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DECLARATION OF JENNY CUDWORTH RE: MOTION FOR FINAL APPROVAL OF CLASS ©
SETTLEMENT

 
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Forms returned, and distribute checks to eligible claimants.

3. As of September 23, 2011, KCC received 537 Claim Forms, two of which were
duplicates, resulting in 555 unique filed claims. Of the 555 unique claims, 141 are approved, 21
are denied, and 373 were determined to be deficient. Notices of Deficient Claim Form with a
deadline of September 16, 2011 have been mailed to the 373 whose claims were determined to be
deficient. We are currently processing the responses to these Notices of Deficient Claim Form
now.

4. Consistent with the distribution methodology that applies in this settlement, for
each Valid Claim submitted, KCC will pay to the submitting Settlement Class Member eighty-
two dollars ($82.00) per Claimed Letter that Chex Systems sent to the submitting Settlement
Class Member. The 141 Class Members with claims currently approved have a total of 155
Claimed Letters, resulting in $12,710.00 to be distributed. The minimum estimated amount to be
distributed to the 373 Class Members who submitted a deficient Claim Form is $34,358.00 and
the maximum estimated amount to be distributed to the 373 Class Members who submitted a
deficient Claim Form is $51,332.00, resulting in a range from $47,068.00 to $64,042.00 to be
distributed to the submitting Settlement Class Members.

] declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and that this declaration was executed this Aa’ day of September 2011 at Novato,
California.

 

DECLARATION OF JENNY CUDWORTH RE: M
SETTLEMENT

 

 
